Label Matrix for local noticing   (p)AMERICREDIT FINANCIAL SERVICS DBA GM FINAN   Angelina Savings Bank
0540-9                            PO BOX 183853                                   1721 Tulane Dr
Case 21-90242                     ARLINGTON TX 76096-3853                         Lufkin, TX 75901-5607
Eastern District of Texas
Lufkin
Thu Dec 30 12:12:20 CST 2021
Arrington Lumber                  Attorney General of Texas                       (p)BANCORPSOUTH
445 County Rd 1538                Box 12548, Capitol Station                      BANKRUPTCY DEPARTMENT
Jacksonville, TX 75766            Austin, TX 78711-2548                           P O BOX 4360
                                                                                  TUPELO MS 38803-4360


Bank of America                   Barfield Family Trust                           Barfield, Sherry 4B Ranch
Attn: Bankruptcy                  2106 N Palm Ct                                  2106 N Palm Ct
NC4-105-03-14 PO Box 26012        Pasadena, TX 77502-5614                         Pasadena, TX 77502-5614
Greensboro, NC 27420


Bradley C Smith                   Brown, Thomas                                   Bufkin, James A
12526 N FM 95                     Atty for Velvin Oil Co Inc                      Attorney for Hughes Petroleum
Nacogdoches, TX 75961-8753        116 N Kilgore St                                PO Box 154138
                                  Kilgore, TX 75662-5822                          Lufkin, TX 75915-4138


CAC Financial Corp                CJR Management                                  CJR Management
2601 Northwest Expressway         378 CR 4117                                     378 CR 4117
Suite 1000E                       Timpson, TX 75975                               Timpson, Texas 75975
Oklahoma City, OK 73112-7236


Center Broadcasting Co            Commercial Bank of Texas                        Commercial Bk Texas Na
PO Box 930                        215 E Main                                      109 W Parker
Center, Texas 75935-0930          Nacogdoches, Texas 75961-5223                   Elkhart, TX 75839-7608



Commonwealth Financial Systems    Credit Collection Services                      District Clerk Rusk Co
Attn: Bankruptcy                  Attn: Bankruptcy                                CV 2021-185
245 Main Street                   725 Canton St                                   PO Box 1687
Dickson City, PA 18519-1641       Norwood, MA 02062-2679                          Henderson, TX 75653-1687


ERC                               Element Financial Corp                          First Insurance Funding
PO Box 23870                      655 Business Center Dr                          135 S,. LaSalle ST, Dept 8075
Jacksonville, FL 32241-3870       Horsham, PA 19044-3409                          Chicago, IL 60674-8075



Ford Motor Credit                 Gillespie, Robin                                Gillespie, Robin Trustee
Attn: Bankrutcy                   PO Box 631107                                   PO Box 631107
PO Box 54200                      Nacogdoches, TX 75963-1107                      Nacogdoches, TX 75963-1107
Omaha, NE 68154-8000


Hughes Petroleum Products Inc     (p)INTERNAL REVENUE SERVICE                     IRS
PO Box 900                        CENTRALIZED INSOLVENCY OPERATIONS               Internal Revenue Service
Corrigan, TX 75939-0900           PO BOX 7346                                     PO Box 7346
                                  PHILADELPHIA PA 19101-7346                      Philadelphia, PA 19101-7346
IRS                                           Internal Revenue Service        John Deer Credit
PO Box 7346                                   Tyler Division Case Only        PO Box 5327
Philadelphia, PA 19101-7346                   3372 S/SW Loop 323              Madison, WI 53705-0327
                                              Tyler, TX 75701-9222


Kristy Smith                                  Lloyd Gillespie                 Lloyd Gillespie
12526 FM 95                                   8211 S US Hwy 59                PO Box 631107
Nacogdoches, TX 75961-8753                    Nacogdoches, TX 75964-8718      Nacogdoches, TX 75963-1107



Lloyd Kraus                                   Lucky Stop                      Midland Cr Mgmt Midland Funding
Chapter 13 Trustee                            1218 Douglas Rd                 PO Box 2037
110 N College Ste 1200                        Nacogdoches, TX 75964-4904      Warren, MI 48090-2037
Tyler, TX 75702-7242


Midland Fund                                  Nacogdoches County et al        North Texas Tollway Authority
Attn: Bankruptcy                              Perdue Brandon Fielder et al    PO Box 660244
350 Camino De La Reine, Suite 100             PO Box 2007                     Dallas, TX 75266-0244
San Diego, CA 92108-3007                      Tyler, TX 75710-2007


Online Collections Deep ET Coop               PNC Equipment Fin LLC-Element   PNC Equipment Finance
Attn: Bankruptcy                              co Robert Walton Esq            Customer Service -Bankruptcy
PO Box 1489                                   794 Penilyn, Ste 100            PO Box 609
Winterville, NC 28590-1489                    Blue Bell, PA 19422-1669        Pittsburgh, PA 15230-0609


Pederson, Bill, Atty                          Pederson, Bill, Atty            Perdue Brandon Fielder
118 E Hospital Street, no 400                 PO Box 630870                   Bullard City Ct
Nacogdoches, TX 75961-5242                    Nacogdoches, Texas 75963-0870   PO Box 9132
                                                                              Amarillo, TX 79105-9132


Polk County Clerk                             R & D Distributing              RMA Toll Processing
Civil case 21-CC-CV-0053                      PO Box 1507                     PO Box 734182
101 W Mill Street, Ste 265                    Center, TX 75935-1507           Dallas, TX 75373-4182
Livingston, TX 77351-3233


RPM for Dish Network                          Southside Bank                  Southwest Recovery Service
20816 44th Ave West                           PO Box 1079                     17311 Dallas Parkway
Lynnwood, WA 98036-7799                       Tyler, TX 75710-1079            Suite 235
                                                                              Dallax, TX 75248-1132


(p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS       State of Louisian               Walter David Stephens
REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION   Civil Division                  P.O. Box 444
PO BOX 13528                                  PO Box 94005                    103 E. Denman
AUSTIN TX 78711-3528                          Baton Rouge, LA 70804-9005      Lufkin, TX 75901-3993


Stuart Lippman & Assoc                        Sunoco                          Syncrony Bank
5447 E 5th Street, no 110                     4123 Old Tyler Rd               PO Box 965064
Tucson, AZ 85711-2345                         Nacogdoches, TX 75964-1435      Orlando, FL 32896-5064
Synerprise Consulting Services, Inc                  Texas Workforce Commission                           Trail Co
Attn: Bankruptcy                                     PO Box 149080                                        116 Chad Drive
5651 Broadmoor                                       Austin, TX 78714-9080                                Mansfield, LA 71052-4565
Mission, KS 66202-2407


Transworld Systems                                   U. S. Trustee EDTX                                   U.S. Attorney General
PO Box 15520                                         300 Plaza Tower                                      Department of Justice
Wilmington, DE 19850-5520                            110 N. College Ave                                   Main Justice Building
                                                     Tyler, TX 75702-7226                                 10th & Constitution Ave., NW
                                                                                                          Washington, DC 20530-0001

US Trustee                                           United States Attorney BMT                           Velvin Oil Co Inc
Office of the U.S. Trustee                           350 Magnolia Ave, Ste 150                            PO Box 993
110 N. College Ave.                                  Beaumont, TX 77701-2254                              Henderson, TX 75653-0993
Suite 300
Tyler, TX 75702-7231

W. David Stephens                                    Woodco Leasing
P. O. Box 444                                        PO Box 2279
103 E Denman Ave                                     Woodville, TX 75979-2279
Lufkin, Texas 75901-3993




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Americredit Financial                                BancorpSouth                                         IRS
Bankruptcy                                           Attn: Bankruptcy                                     1919 Smith St
PO Box 183593                                        178 Commerce St                                      Mail Stop 5024 HOU
Arlington, TX 76096                                  Batesville, MS 38606                                 Houston, TX 77002


State Comptroller Public Accts
Capitol Station
Austin, TX 78774




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Bradley C Smith                                   End of Label Matrix
12526 N FM 95                                        Mailable recipients    70
Nacogdoches, TX 75961-8753                           Bypassed recipients     1
                                                     Total                  71
